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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    KATHY BUSHFIELD, et al.,                           CASE NO. C19-1626-JCC
10                          Plaintiffs,                  MINUTE ORDER
11           v.

12    C.R. BARD, INC.,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion to extend the case
18   management deadlines (Dkt. No. 87). The parties argue that they need to complete additional
19   discovery and would like to schedule time to mediate but have been hindered by the COVID-19
20   pandemic. Having reviewed the parties’ motion and the relevant record and finding good cause,
21   the Court GRANTS the motion and EXTENDS the case management deadlines as follows:
22
                   DEADLINE                      CURRENT DATES               AMENDED DATES
23
       Discovery Deadline                          December 11, 2020           February 10, 2021
24     Mediation Deadline                          December 11, 2020           February 10, 2021
       Dispositive Motions Deadline                  January 12, 2021            March 12, 2021
25     Pleading Amendment & Third
                                                           April 2, 2021               June 1, 2021
       Party Action Deadline
26
       Pretrial Order Deadline                             April 2, 2021               June 1, 2021

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      Trial Briefs and Proposed Voir
 1                                                April 8, 2021       June 7, 2021
      Dire/Jury Instructions Deadline
 2    Jury Trial                                 April 12, 2021      June 14, 2021

 3

 4        DATED this 11th day of January 2021.

 5                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
 7                                               Deputy Clerk
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